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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 11-20504-CIV-SEITZ/WHITE

  ALYDDAZZA,

                 Movant,
  v.

  UNITES STATES OF AMERICA,

                 Respondent.
  --------------------------_/
                       ORDER ADOPTING REPORT AND CLOSING CASE

          THIS CAUSE is before the Court on the Report of Magistrate Judge [DE-14]. In that Report,

  Magistrate Judge White recommends that Movant's Motion to Vacate Sentence, pursuant to 28 U.S.C.

  § 2255, be denied. Movant has filed no objections to the Report. Thus, having carefully reviewed, de

  novo, Magistrate Judge White's thorough Report, the record, and given that Plaintiff has not objected,

  it is hereby

          ORDERED that:

          (l) The above-mentioned Report of Magi strate Judge [DE-14] is AFFIRMED and ADOPTED,

  and incorporated by reference into this Court's Order;

          (2) Movant's Petition [DE-I] is DENIED;

          (3) All pending motions not otherwise ruled upon in this Order are DENIED AS MOOT; and

          (4) This case is CLOSED.
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          DONE AND ORDERED at Miami, Florida, this         /to day of September, 20 II.

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  cc:     Magistrate Judge White
          Counsel of Record/Pro se parties
